          Case 1:19-cr-00714-VM Document 28 Filed 11/15/21 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                    11/15/2021
--------------------------------------X
UNITED STATES OF AMERICA,             :
                                      :             19 Crim. 714 (VM)
                                      :
     - against -                      :                   ORDER
                                      :
DOV MALNIK,                           :
                                      :
                      Defendant.      :
--------------------------------------X
VICTOR MARRERO, United States District Judge.

     In     light    of   the    ongoing     public      health      crisis,      the

proceeding      before    the   Honorable     Victor      Marrero      on      Friday,

November 19, 2021 at 9:30 a.m. shall be a teleconference. The

parties are directed to use the dial-in number 888-363-4749,

with access code 8392198.



SO ORDERED.


Dated:       New York, New York
             November 15, 2021
                                            ________________________
                                            _
                                            _____
                                               ____
                                                  ____
                                                    ____
                                                       ____
                                                       ____
                                                          ____
                                                            _ ____ ______
                                                                       _____
                                                                           _
                                                   VICTOR
                                                   VI
                                                   V ICT
                                                      CTO R MARRERO
                                                         OR MAAR
                                                               RRERO
                                                                 RER
                                                                 RE RO
                                                                     O
                                                         U.S.D.J.
                                                         U.S.
                                                         U. .D..J.
                                                                 J
